 Case:17-03283-LTS Doc#:13678-5 Filed:07/15/20 Entered:07/15/20 18:46:21               Desc:
                            Exhibit E Page 1 of 2
                                          EXHIBIT E
                 Summary of Jenner & Block LLP Hours Worked and Fees Incurred


   Name of                Title     Year       Department       Hourly    Total    Total Fees
  Professional                     Admitted                     Billing   Billed   Requested
                                                                 Rate     Hours
CLIFFORD W.          Partner       2007       Appellate &        $875      6.50       $5,687.50
BERLOW                                        Supreme Court
                                              Practice
IAN HEATH            Partner       1993       Appellate &       $1,300    12.10     $15,730.00
GERSHENGORN                                   Supreme Court
                                              Practice
ROBERT D.            Partner       1989       Restructuring &   $1,225    330.90   $405,352.50
GORDON                                        Bankruptcy
SARAH E.             Partner       2009       Employee           $900      6.30       $5,670.00
HADDY                                         Benefits
MARC B.              Partner       1992       Restructuring &   $1,125    65.00     $73,125.00
HANKIN                                        Bankruptcy
LINDSAY C.           Partner       2003       Appellate &       $1000      1.10       $1,100.00
HARRISON                                      Supreme Court
                                              Practice
EMILY M. LOEB        Partner       2009       Investigations,    $950      3.10       $2,945.00
                                              Compliance &
                                              Defense
RONALD R.            Partner       1973       Restructuring &   $1,225     5.00       $6,125.00
PETERSON                                      Bankruptcy
LANDON S.            Partner       2008       Restructuring &    $900     521.20   $469,080.00
RAIFORD                                       Bankruptcy
MELISSA M.           Partner       2003       Restructuring &    $975     306.10   $298,447.50
ROOT                                          Bankruptcy
MICHELE L.           Partner       2008       Complex            $900      5.90       $5,310.00
SLACHETKA                                     Commercial
                                              Litigation
CATHERINE L.         Partner       1982       Restructuring &   $1,225    215.60   $264,110.00
STEEGE                                        Bankruptcy
ADRIENNE LEE         Associate     2015       Appellate &        $755      6.50       $4,907.50
BENSON                                        Supreme Court
                                              Practice
GABRIEL K.           Associate     2011       Appellate &        $865      4.50       $3,892.50
GILLET                                        Supreme Court
                                              Practice
KATHERINE A.         Associate     2018       Litigation         $665      6.70       $4,455.50
ROSOFF
ADAM T.              Associate     2018       Restructuring &    $570     81.30     $46,341.00
SWINGLE                                       Bankruptcy
  Case:17-03283-LTS Doc#:13678-5 Filed:07/15/20 Entered:07/15/20 18:46:21                 Desc:
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                                               EXHIBIT E
                Summary of Jenner & Block LLP Hours Worked and Fees Incurred


JOHN D.              Associate          2014      Restructuring &   $780    53.20       $41,496.00
VANDEVENTER                                       Bankruptcy
CARL N.              Associate          2010      Restructuring &   $880   202.10      $177,848.00
WEDOFF                                            Bankruptcy
NATHANIEL            Associate          2015      Complex           $745    38.00       $28,310.00
K.S. WACKMAN                                      Commercial
                                                  Litigation
WILLIAM A.           Associate          2015      Restructuring &   $630    39.60       $24,948.00
WILLIAMS                                          Bankruptcy
LAURA E.             Staff Attorney/    2004      Litigation        $585   457.00      $267,345.00
PELANEK              Special Counsel
TOI D. HOOKER        Paralegal          N/A       Restructuring &   $400   103.40       $41,360.00
                                                  Bankruptcy
MARY F.              Paralegal          N/A       Litigation        $355    26.00        $9,230.00
PATSTON
MARC A.              Paralegal          N/A       Restructuring &   $230   132.40       $30,452.00
PATTERSON                                         Bankruptcy
CHARLOTTE M.         Paralegal          N/A       Appellate &       $355    3.50         $1,242.50
STRETCH                                           Supreme Court
                                                  Practice
ANNETTE M.           Paralegal          N/A       Litigation        $230    3.00           $690.00
YOUNG
TRICIA J.            Library Services   N/A       Information       $355    1.30           $461.50
PEAVLER                                           Services
JAMES P.             Library Services   N/A       Information       $355    1.30           $461.50
WALSH                                             Services
   Sub-Total*                                                              2,638.60   $2,236,123.50
Less 15% Fee                                                                           $321,818.77
Discount on all
matters except the
Non-working
Travel Matter
Less 50%                                                                                $45,333.00
Discount on Non-
working Travel
Matter
       Total                                                                          $1,868,971.73
